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                          Southern District of Indiana




           Defendant(s)




 Code Section                                     Offense Description




                                                                Complainant’s signature


                                                                 Printed name and title




                                                                   Judge’s signature


                                                                 Printed name and title
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Special Agent Matthew Cook, do declare and state as follows:

                               Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and have

been so employed since March 2010. Previous to that, I was a practicing attorney in the Kansas

City, Missouri area. I am a “federal law enforcement officer” within the meaning of Federal

Rules of Criminal Procedure 41(a) and 41(a)(2)(C). During the course of my career with the

FBI, I have participated in numerous criminal investigations in the FBI Indianapolis Division. I

have worked cases involving national security counterintelligence crimes, gangs, narcotics, and

violent criminal acts. In addition, I have conducted and participated in surveillance, the

execution of search warrants, debriefings of informants, reviews of recorded conversations,

analyses of phone records, and numerous other investigative activities throughout the course of

my FBI career.

       2.      The following information is based on my personal knowledge, training, and

experience, as well as information provided to me by other law enforcement personnel. Because

this affidavit is being submitted for the limited purpose of securing a criminal complaint and

arrest warrant charging SHANE MEEHAN, DOB: XX-XX-1976 (known to me but redacted),

SSN: XXX-XX-2089 (known to me but redacted) (“MEEHAN”), with Premeditated Murder of

a Federal Officer, in violation of 18 U.S.C. § 1114, it does not purport to set forth all of my

knowledge about this matter.

                                          Probable Cause

       3.      The FBI maintains a resident agency in the city of Terre Haute, within the Southern

District of Indiana (the “Terre Haute RA”).
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